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15
                               UNITED STATES DISTRICT COURT
16
                             NORTHERN DISTRICT OF CALIFORNIA
17

18   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
     LIABILITY LITIGATION,
19                                                   Case No: 3:16-md-02741-VC
20   Angelo Bulone v. Monsanto Co.,                  DEFENDANT MONSANTO
     3:20-cv-03719-VC                                COMPANY’S REPLY IN SUPPORT OF
21                                                   ITS MOTION TO EXCLUDE
                                                     TESTIMONY OF PLAINTIFF’S
22                                                   SPECIFIC CAUSE EXPERT DR. MARC
                                                     BRAUNSTEIN AND FOR SUMMARY
23                                                   JUDGMENT
24                                                   Hearing Date:
                                                     Date: March 1, 2024
25                                                   Time: 10:00 a.m.
                                                     Place: San Francisco Courthouse,
26                                                          Courtroom 4 – 17th Floor
27

28



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 1                                             INTRODUCTION
 2          In Pre-Trial Order 288 (“PTO 288”), this Court correctly observed that a “sentiment may have

 3   developed in this MDL that because some general and specific causation opinions have now been

 4   admitted, additional experts can get through the Daubert gate with a casual wave of the hand. That

 5   is wrong.” Id. at 12. Plaintiff’s Response to Monsanto’s Motion to Exclude Plaintiff’s specific

 6   causation expert, Dr. Braunstein, is precisely the “casual wave of the hand” against which this Court

 7   warned.

 8          Dr. Braunstein purports to have conducted a differential diagnosis to determine the most likely

 9   cause of Plaintiff’s NHL. But he did not reliably rule in Plaintiff’s Roundup use as a potential cause,
10   because he relied solely on unadjusted “exposure days” data points that this Court has already held

11   cannot alone support a specific causation opinion.

12          Perhaps more importantly, Plaintiff’s Response never addresses a key argument from

13   Monsanto’s Motion: that Dr. Braunstein’s opinions are unreliable because he has taken contradictory

14   positions on whether Plaintiff’s benzene exposure was a potential cause of Plaintiff’s NHL. Indeed,

15   in his first report (issued in 2022), Dr. Braunstein wrote that he could not rule out Plaintiff’s benzene

16   exposure as a potential cause. In his second report (issued in 2023), Dr. Braunstein wrote that,

17   actually, he could rule out Plaintiff’s benzene exposure—even though he admittedly relied on no new

18   information in his second report compared to his first. Plaintiff attempts to defend Dr. Braunstein’s

19   benzene opinion by arguing that the deficiencies in his benzene opinion bear only on his conclusions

20   and not his methodology. But the fact that Dr. Braunstein has reached contradictory conclusions

21   based on the same information indicates that his “methodology” is really just to arrive at Plaintiff’s

22   preferred result.

23          Finally, because Dr. Braunstein did not reliably rule in Plaintiff’s Roundup use, Dr. Braunstein

24   is not off the hook when it comes to the need to consider, and rule out, idiopathic causes of NHL

25   (including naturally occurring mutations), which he did not do.

26          For these reasons, and those that follow, this Court should grant Monsanto’s motion to exclude

27   Dr. Braunstein’s opinion.

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 1                                                ARGUMENT
 2   I.       Dr. Braunstein’s “Exposure Days” Approach Did Not Reliably “Rule In” Roundup.
 3            In its Motion, Monsanto noted that Dr. Braunstein did not “reliably rule in Roundup as a

 4   cause” of Plaintiff’s cancer. Mot. at 3 n.1. In his Response, Plaintiff asserts that Dr. Braunstein’s

 5   purported differential diagnosis was reliable because he ruled in glyphosate as a potential cause of

 6   Plaintiff’s NHL based on the amount of time over which Plaintiff was allegedly exposed to Roundup.

 7   Specifically, Dr. Braunstein asserted that Plaintiff’s “‘prolonged exposure’” to Roundup “‘is more

 8   than the minimum exposure reported in epidemiologic studies associating’” glyphosate and NHL.

 9   Resp. at 2 (quoting Hsu Decl., Ex. B, Braunstein 2023 Report at 101). But he has no reliable basis
10   for reaching this conclusion.

11            Initially, Plaintiff asserts that Dr. Braunstein arrived at this conclusion based in part on “the

12   time-weighted exposure calculation of Dr. James Clark.” Resp. at 2. But all Dr. Clark did was

13   calculate how many days Plaintiff was exposed to Roundup.2 Dr. Clark did not take the next step and

14   determine whether the number of days to which Plaintiff was exposed to Roundup was enough to

15   cause Plaintiff to develop cancer. That was Dr. Braunstein’s role.

16            Thus, contrary to Plaintiff’s insinuation, Dr. Braunstein’s sole basis for concluding that

17   Plaintiff’s exposure to Roundup was enough to cause him to develop NHL (and, therefore, Dr.

18   Braunstein’s sole basis for ruling in Roundup as a potential cause of Plaintiff’s NHL) are

19   epidemiological studies.3 See Hsu Decl. Ex. B, Braunstein 2023 Report at 9, Table 1 (listing the

20   epidemiological case-control studies on which Dr. Braunstein relied). And only two of those

21   studies—Eriksson and McDuffie—purport to determine how much Roundup exposure is required to

22   supposedly cause cancer. Id. Dr. Braunstein confirmed at his deposition that he concluded that

23
     1
24     Unless otherwise noted, exhibit citations in this reply are to the exhibits filed in support of
     Monsanto’s original motion to exclude Dr. Braunstein.
25   2
       Monsanto does not concede that Dr. Clark’s calculations are reliable or admissible. Monsanto has
     separately moved to exclude Dr. Clark’s opinions.
26
     3
       Dr. Braunstein’s report contains sections describing studies about the supposed genotoxic properties
27   of glyphosate, and certain animal and mechanistic studies on glyphosate. These studies do not address
     how much exposure to glyphosate is supposedly necessary to cause cancer in humans. See Hsu Decl.
28   Ex. B, Braunstein 2023 Report at 6-8. Accordingly, these studies do not (indeed, they could not)
     inform Dr. Braunstein’s specific causation opinion.

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 1   Plaintiff’s “Roundup exposure is more than the minimum exposure reported in epidemiologic

 2   studies.” Hsu Supp. Decl. Ex. E, Braunstein Dep. (Bulone) at 62:23-63:2. Dr. Braunstein further

 3   confirmed that the epidemiological studies he relied on for the minimum exposure days needed to

 4   supposedly cause cancer was the study that concluded “a minimum of 2 days” was enough and the

 5   study that concluded “a minimum of 10 days” was enough. Id. at 63:5-9. Those are the McDuffie

 6   and Eriksson studies, respectively. See Hsu Decl. Ex. B, Braunstein 2023 Report at 9, Table 1.

 7           But this Court has already recognized that the data points from the Eriksson and McDuffie

 8   studies on which Dr. Braunstein focuses are unreliable. In Pre-Trial Order 85 (“PTO 85”), this Court

 9   specifically addressed the Eriksson and McDuffie studies’ “exposure days” conclusions and noted
10   that they “did not adjust for the use of other pesticides,” and, consequently, the specific causation

11   experts who relied on the Eriksson and McDuffie studies “may not testify that glyphosate is a

12   substantial causative factor for anyone who exceeds two days per year or ten lifetime days of

13   Roundup use, because that conclusion is based on unadjusted data.” PTO 85 at 8 (emphasis added).

14           So too here. Dr. Braunstein purports to rule in Roundup because of the number of days on

15   which Plaintiff was exposed to Roundup. Dr. Braunstein’s sole basis for concluding that Plaintiff

16   exceeded the number of days needed to rule in Roundup is the “exposure days” data contained in the

17   Eriksson and McDuffie studies.4 Thus, just like the experts who were the subject of PTO 85, Dr.

18   Braunstein should not be permitted to testify that glyphosate is a substantial causative factor for

19   Plaintiff’s NHL.

20   II.     Plaintiff’s Response Ignores Dr. Braunstein’s Flip-Flopping On Benzene.
21           In its Motion, Monsanto pointed out that Dr. Braunstein filed two reports in this case. Dr.

22   Braunstein issued his first report in 2022, and issued his second report in October 2023, just one day

23

24
     4
       In addition to Eriksson and McDuffie, Dr. Braunstein’s report also discusses three now-familiar
25   analyses: the IARC monograph, the Agricultural Health Study, and the Zhang meta-analysis. But
     these documents did not play (and could not have played) a role in Dr. Braunstein’s “exposure days”
26   opinion purporting to rule in Roundup. None of these other analyses used an “exposure day”
     methodology. The IARC monograph did not examine a dose-response relationship. Dr. Braunstein
27   admitted that the Agricultural Health Study “did not find ... an increased risk of NHL.” Hsu Supp.
     Decl. Ex. F, Braunstein Dep. (Caccia) at 59:14-15. And Dr. Braunstein himself wrote that the Zhang
28   meta-analysis did not “detect a meaningful increase in NHL or other cancers associated with
     glyphosate.” Hsu Decl. Ex. B, Braunstein 2023 Report at 10.

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 1   before his deposition in this case. Mot. at 7. And Monsanto pointed out that Dr. Braunstein’s two

 2   reports contain completely contradictory positions on whether Dr. Braunstein actually ruled out as a

 3   potential cause of Plaintiff’s NHL the benzene from jet fuel to which Plaintiff was exposed during

 4   his time serving in the U.S. Navy. Id. Specifically, Monsanto noted that in his 2022 report Dr.

 5   Braunstein wrote that benzene “cannot be ruled out” as a potential cause of Plaintiff’s NHL, but in

 6   his 2023 report Dr. Braunstein reached exactly the opposite conclusion, writing that Plaintiff’s

 7   exposure to benzene from jet fuel “has been ruled out” as a potential cause of Plaintiff’s NHL. Id. at

 8   4. Dr. Braunstein changed his tune in his 2023 report even though he admits that he did not “review

 9   any other materials” for his 2023 report compared to his 2022 report. Hsu Supp. Decl. Ex. E,
10   Braunstein Dep. (Bulone) at 11:18-25 (emphasis added).5

11           Dr. Braunstein’s flip-flopping did not stop there. As Monsanto pointed out in its motion, Dr.

12   Braunstein changed his tune again at his deposition, testifying four different times that (consistent

13   with his original 2022 report) he cannot rule out benzene exposure from jet fuel as a potential cause

14   of Plaintiff’s NHL. Mot. at 4.

15           Plaintiff’s Response never addresses any of this.        Plaintiff never explains why Dr.

16   Braunstein’s testimony is admissible even though he has reached two contradictory conclusions based

17   on the exact same information. All Plaintiff says in Response is that Dr. Braunstein’s failure to rule

18   out Plaintiff’s benzene exposure as a potential cause of his NHL is a function of weight, not

19   admissibility, and bears on “the accuracy of [Dr. Braunstein’s] conclusion, not the soundness of his

20   methodology.” Resp. at 7-8 (citation and quotation marks omitted). That is wrong. Dr. Braunstein’s

21   flip-flopping is an indication that he has no reliable methodology to begin with. Indeed, a district

22   should exclude specific causation experts who do not “provide reasons for rejecting alternative

23   hypotheses using scientific methods and procedures;” indeed, the “elimination of those hypotheses

24   must be founded on more than subjective belief or unsupported speculation.” Clausen v. M/V New

25   Carissa, 339 F.3d 1049, 1058 (9th Cir. 2003) (cleaned up). The fact that Dr. Braunstein reached

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27
     5
      Dr. Braunstein confirmed that the only new addition to his 2023 report was the inclusion of Dr.
28   Clark’s exposure days calculations. Hsu Supp. Decl. Ex. E, Braunstein Dep. (Bulone) at 11:18-25.
     But Dr. Clark’s report focused on Roundup exposure, not benzene exposure.

                                                       4
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 1   completely opposite conclusions about benzene at different points in time based on the same

 2   information strongly indicates that his methodology does not satisfy this standard.

 3
     III.    Dr. Braunstein Did Not Consider, Let Alone Rule Out, Idiopathy (Including Naturally
 4           Occurring Mutations).
 5           In its Motion, Monsanto argued that Dr. Braunstein failed to rule out idiopathic causes of

 6   Plaintiff’s NHL. Mot. at 8-9. In Response, Plaintiff argues that Dr. Braunstein in fact did “offer a

 7   reliable explanation for why [Plaintiff’s] NHL should not be considered ‘idiopathic’” because Dr.

 8   Braunstein determined that Plaintiff’s “prolonged exposure to Roundup … is more than the minimum

 9   exposures reported in epidemiologic studies.” Resp. at 9. Plaintiff is incorrect.
10           Initially, in order to reliably rule out idiopathy, Dr. Braunstein needed to have considered

11   naturally occurring mutations as a potential cause. After all, as this Court correctly noted at the

12   December 12, 2023 Daubert hearing in the Delorme-Barton case: “[w]hat it’s been up until now, is

13   … [a] high percentage of NHL cases are idiopathic” and the role that naturally occurring mutations

14   play as a potential cause of NHL effectively “put[s] meat on the bones” of previous understanding,

15   “which is that such a high percentage of NHL cases are idiopathic.” Hsu Supp. Decl. Ex. G, Daubert

16   Hr’g Tr. at 158:17-25. Dr. Braunstein knew that naturally occurring mutations are one way to

17   understand NHL cases previously classified as idiopathic because Monsanto disclosed in Wave VI

18   the general causation opinions of Dr. Cristian Tomasetti, who concludes that naturally occurring

19   mutations are responsible for the vast majority of NHL cases. But Dr. Braunstein’s expert report

20   does not even mention (let alone rule out) naturally occurring mutations as a potential cause, just as

21   it does not even mention (let alone rule out) idiopathy more generally.

22           Plaintiff relies on Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227 (9th Cir. 2017). Wendell

23   held that when an expert reliably rules in one of a plaintiff’s “multiple risk factors” as a “substantial

24   causative factor” the expert need not “completely rule out” idiopathy. Id. at 1237. But as explained,

25   supra pp. 2-3, Dr. Braunstein did not reliably rule in glyphosate as a substantial potential cause of

26   Plaintiff’s NHL because Dr. Braunstein’s sole basis for ruling in glyphosate was the unreliable,

27   unadjusted “exposure days” data points in the McDuffie and Eriksson studies. Thus, Dr. Braunstein

28   should have at least considered idiopathy as a potential cause of Plaintiff’s NHL. Henricksen v.


                                                        5
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 1   ConocoPhillips Co., 605 F. Supp. 2d 1142, 1163 (E.D. Wash. 2009) (excluding an expert for “fail[ing]

 2   to adequately account for the possibility that [the plaintiff’s disease] was idiopathic”). But Dr.

 3   Braunstein did not even consider idiopathy as a potential cause, let alone rule it out. Here, Dr.

 4   Braunstein’s failure to consider idiopathic causes—including naturally occurring mutations—

 5   indicates that his methodology is fatally flawed.

 6                                              CONCLUSION
 7          For the foregoing reasons, the Court should grant Monsanto’s motion to exclude Plaintiff’s

 8   specific causation expert, Dr. Braunstein, on Rule 702 and Daubert grounds and grant summary

 9   judgment in Monsanto’s favor because Plaintiff has failed to present at least one admissible expert
10   opinion to support specific causation in this case.

11

12   Dated: January 22, 2024                       Respectfully submitted,

13
                                                   /s/ Linda C. Hsu
14                                                 Attorney for Defendant Monsanto Company
15
                                       CERTIFICATE OF SERVICE
16
            I HEREBY CERTIFY that on this 22nd day of January, 2024 a copy of the foregoing was
17
     filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all
18
     appearing parties of record.
19
                                                   /s/ Linda C. Hsu
20                                                 Linda C. Hsu
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       MONSANTO’S REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE TESTIMONY OF DR. BRAUNSTEIN
